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                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )       4:06CR3062
                                                        )
                        vs.                             )       FINAL ORDER OF
                                                        )       FORFEITURE
                                                        )
ROBERT BERLIE,                                          )
                                                        )
                                Defendant.              )


        NOW ON THIS 1st day of December, 2006, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture and Memorandum Brief. The Court reviews the

record in this case and, being duly advised in the premises, find as follows:

        1. On September 18, 2006, the Court entered a Preliminary Order of Forfeiture pursuant to

the provisions of Title 18, United States Code, Sections 371, 471 and Title 49, United States Code,

Section 80303, based upon the Defendant's plea of guilty to Counts I and III of the Indictment filed

herein. By way of said Preliminary Order of Forfeiture, the Defendant’s interest in a 1997 black

Ford Explorer, VIN 1FMDU24E7VUC40097 was forfeited to the United States.

        2. On October 12, 19 and 26, 2006, the United States published in a newspaper of general

circulation notice of this forfeiture and of the intent of the United States to dispose of the property

in accordance with the law, and further notifying all third parties of their right to petition the Court

within the stated period of time for a hearing to adjudicate the validity of their alleged legal

interest(s) in said property. An Affidavit of Publication was filed herein on November 22, 2006

(Filing No. 138).
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       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the subject property, i.e., a 1997 black Ford Explorer,

VIN 1FMDU24E7VUC40097, held by any person or entity, is hereby forever barred and foreclosed.

       C. The subject property, i.e., a 1997 black Ford Explorer, VIN 1FMDU24E7VUC40097, be,

and the same hereby is, forfeited to the United States of America .

       D. The United States Secret Service for the District of Nebraska is directed to dispose of said

property in accordance with law.

       December 1, 2006.                               BY THE COURT:
                                                       S/ RICHARD G. KOPF, JUDGE
                                                       United States District Court
